           Case 3:07-cv-05944-JST Document 2505 Filed 03/28/14 Page 1 of 1



 1                                  UNITED STATES DISTRICT COURT

 2                               NORTHERN DISTRICT OF CALIFORNIA

 3                                       SAN FRANCISCO DIVISION

 4   IN RE CATHODE RAY TUBE (CRT)                         No. 07-cv-5944-SC
     ANTITRUST LITIGATION                                 MDL No. 1917
 5
                                                          [PROPOSED] ORDER GRANTING
 6   This Document Relates to:                            THOMSON SA’S ADMINISTRATIVE
                                                          MOTION TO FILE UNDER SEAL
 7   Tech Data Corp., et al. v. Hitachi, Ltd., et al.,
     No. 13-cv-00157
 8

 9           Upon consideration of Thomson SA’s Administrative Motion to File Under Seal Portions
10   of its Reply in Support of Its Motion to Strike With Prejudice Tech Data’s First Amended
11   Complaint, the Declaration of Jeffrey S. Roberts in support thereof, and good cause appearing
12   therefore:
13           The Court hereby GRANTS Thomson SA’s motion to seal and orders that the portions of
14   Thomson SA’s Reply in Support of Its Motion to Strike With Prejudice Tech Data’s First
15   Amended Complaint that reference Exhibits B, K, L, N, O, P, and S though X to Tech Data’s
16   Opposition shall be sealed.
17           IT IS SO ORDERED.
18

19   DATED:       March 28, 2014
                                                     Hon. Samuel Conti
20                                                   United States District Judge
21

22

23

24

25

26

27

28
     [PROPOSED] ORDER GRANTING THOMSON              1                         No. 07-5944-SC; MDL No. 1917
     SA’S ADMINISTRATIVE MOTION TO FILE
     UNDER SEAL
